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EXHIBIT D
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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

IN RE:

Methyl Tertiary :MDL NO. 1358 (SAS)
Butyl Ether ("MTBE") :

Products Liability

Litigation

In Re:
City of New York

Videotaped Deposition of
DAVID B. TERRY, P.G., held in the law
offices of McDermott, Will & Emery, 340.
Madison Avenue in New York, New York,
beginning at approximately 9:14 a.m.,
before Ann V. Kaufmann, a Registered
Professional Reporter, Certified
Realtime Reporter, Approved Reporter of
the U.S. District Court, and a Notary
Public.

GOLKOW TECHNOLOGIES, INC.
877.370.3377 ph|917.591.5672 fax
deps@golkow.com

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1 Figure 3? 1 remediation actively being pursued at
2 A. That's correct. 2 the site?
3 Q. And Figure 3 is an 3 A. No.
4 illustration of the plume? 4 Q. With regard to the
5 A. Itis a contour map of MTBE 5 concentration that was selected as the
6 concentrations from points that we 6 mass concentration, did someone check to
7. identified in the model domain. 7 see if the mass -- pardon me, the
8 Q.. And this is an illustration 8 maximum concentration was observed ina
9 showing the concentrations of MTBE as of, 9 perched water condition?
10 2004? 10 A. Idon't believe so, no.
11 A. Correct. 11 Q. Do you know at any of these
12 Q. With respect to the 12 _ sites identified in Table No. 2 how many
13 delineation on Figure 3, it was 13 of them have perched water?
14 generated using what computer program? | 14 A. I don't know that.
15 A. This was done in Arc9, 15 Q. With respect to the sites
16 = ArcGIS 9. 16 identified in Table No. 2, can you state
17 Q. ArcGIS 9? 17 an opinion to a reasonable degree of
18 A. Uh-huh. 18 scientific or engineering certainty as
19 Q. And that was performed by 19 to how many of these sites that you've
20 whom? 20 selected the maximum value is reflective
21 A. That was performed with my 21 of actual MTBE present in the aquifer as
22 oversight and with our GIS -- one of our | 22 opposed to in a perched water system?
23  GlS specialists. As I believe I named 23 A. Well, I don't know if any
24 on the team before, Zach Tyczka actually | 24 of these were in perched water systems.
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1 manipulated the computer to create 1 Q. Fair to say that you can't
2 these. 2 tell us with any reasonable degree of
3 Q. And with respect to the 3 scientific or engineering certainty
4 plume delineation on Figure 3, did 4 which one of these maximum values are in
5 anyone for LBG go back and look at the 5 the aquifer as opposed to a perched
6 site-specific data for each of the 6 water system? Is that a fair
7 service stations illustrated on Figure 3 7 statement?
8 and identify it as a proximal source to 8 A. As {I sit here today, I
9 determine if the plume illustrated on 9 cannot do that.
10 Figure 3 represented the conditions 10 Q. With respect to the
11 observed in the field in 2004? 11 analysis that you performed in this
12 A. No. 12 case, did your staff review the soil
13 Q. With regard to the 17 13 borings for each one of the service
14 service station sites identified under 14 — stations to determine whether there was
15 the heading "Source Proximal Conditions"}15 any localized clay lens beneath the
16 in Table 2, how many of them have active |16 station?
17 remediation ongoing in 2004? 17 A. I don't believe so, no.
18 A. I don't know that. 18 Q. With regard to your
19 Q. With respect to the service 19 professional experience, do you have
20 station sites identified under the 20 experience in investigating service
21 heading "Source Proximal Conditions" do | 21 _ station sites in the Borough of Queens?
22 you know for each of those stations did 22 A. Not in the Borough of
23 someone on your staff determine the mass | 23 Queens, no.
24 that may have been removed by 24 Q. Do you have experience in
17 (Pages 62 to 65)
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1 small universes of data with less than 1 _ service station sites on Figure 2. How
2 20 data points? 2 many data points in 2008 were considered
3 A. . There may be. 3 to be adequate for purposes of
4 Q. Do you know if the 4 calibration?
5 R-squared calculation you performed here 5 A. I don't know that.
6 is generally accepted by statisticians 6 Q. What criteria were used to
7 for small universe calculations? 7 determine whether you had adequate
8 A. I don't know. 8 number of observations in 2008 to
9 Q. . With regard to the analysis 9- calibrate the model?
10 that you did in this case, apart from 10 A. We were just looking for
11 looking at these points, were there any 11 the universe of data we had available in
12 other points, any other data points, 12 our database.
13. which were looked at for calibration 13 Q. And with respect to the
14 purposes for the MT3D model between 2004/14 — universe of data in your database, what
15 to 2008 other than those identified in 15 method did you use to determine whether
16 Exhibit No. 3? 16 you had an adequate number of data
17 A. Idon't believe so. Most 17 ‘points?
18 of the other points that we wanted to or 18 A. Well, the points that we're
19 we considered looking at didn't have 19 showing here, we had at least two
20 — sufficient data to do this. 20 observations, so we tried to include
21 Q. And who made the 21 ‘those. But if we just had one
22 determination it didn't have sufficient 22 observation in that period, that was not
23 = data? 23 _ sufficient.
24 A. Well, we had a table of 24 Q. One observation in which
Page 139 Page 141
1 data. Our team decided that. 1 period, 2008?
2 Q. And the table of data, did 2 A. 2004-2008 period.
3 you review the data for each one of 3 Q. And if there were multiple
4 these sites to determine whether or not 4 observations, you would use them?
5 it was appropriate to use them? 5 A. We would try to use them.
6 A. Ihave seen this table of 6 Q. And with respect to the
7 data. I reviewed it, yes. 7 actual Excel spreadsheet, is that
8 Q. And the table of data that 8 something that was generated by the
9 you have seen, it's an Excel 9 Connecticut office?
10 spreadsheet? 10 A. Yes.
11 A. I believe so. 11 Q. And the Connecticut office
12 Q. And there's an Excel 12 took all the data that was available
13 spreadsheet for every service station 13 from the service station files and laid
14 ~ site? 14 them out in an Excel spreadsheet?
15 A. Ican't recall. 15 A. I don't know if it was done
16 Q. With respect to the 16 quite that way.
17 analysis that was performed, what number | 17 Q. Can you explain to us, as
18 of observations or data points was 18 you sit here today, how the data was
19 considered to be adequate? 19 summarized for purposes of an analysis
20 A. Well, there are some on 20 to determine if a station was an
21 here where we just have two 21 appropriate calibration target for
22 observations. 22 calibrating the Analysis 1 for
23 Q. And I'm saying -- let's go 23 = Station 6?
24 back. You are looking at all 17 of the 24 A. Well, we reviewed the data
36 (Pages 138 to 141)
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1 that we had in the database that we 1 upon that. 2004-2008 is, I think,
2 received for data between the 2004-2008 2 separate stress periods because we had
3. period. Where we had data available, we 3 different stresses, pumping stresses,
4 examined that data to see if there were 4 during that period. Other times in the
5 multiple data points that we could use 5 model there were longer than annual
6 for calibration targets. 6 _ stress periods.
7 Q. When you say between 2004- 7 Q. And as far as you
8 2008, you are not saying for every year 8 understand it, it was an annual stress
9 or you are saying for every year in that 9 period for this particular analysis?
10 intervening period? 10 A. Yes.
11 A. Any time within that 11 Q. Prior to your work on this
12 interval. 12 case did you personally run the
13 Q. When you did the 13 ATRANS model for analysis of fate and
14 calibration target, the calibration 14 transport of MTBE?
15 targets that we're looking at here, 15 A. I don't think that I have
16 _ we're looking at a predicted value using 16 _ used it for MTBE before.
17 2004 inputs and we're comparing it to 17 Q. What applications, if any,
18 observed values in 2008; correct? 18 have you used ATRANS for?
19 A. No. We're comparing the 19 A. Just generally getting an
20 modeled result to the actual result on 20 understanding of the timing and
21 the date that the actual result occurred 21 concentration of contaminant movement
22 or thereabouts. 22 along a flow path.
23 Q. So we're taking the modeled 23 Q. Is the ATRANS model a
24 result using 2004 data inputs and 24 deterministic model?
Page 143 Page 145
1 comparing it to observed condition in 1 A. Yes.
2 2008 as of what date? 2 Q. Is the ATRANS model a
3 A. Well, there's multiple 3 screening model?
4 dates in -- throughout the 2004-2008 4 A. It could be used that way,
5 period. 5 sure.
6 Q. And how are those being 6 Q. And with respect to the
7 aggregated statistically? 7 ATRANS model, what version did you run
8 A. Well, they are just being 8 in this case?
9 taken from the model output. 9 A. I don't remember the exact
10 Q. And with respect to the 10 number.
11 model output, did the model generate 11 Q. With respect to the ATRANS
12 from the MT3D transport a value forthe [12 model that you ran in this case, can you
13 2004 inputs for every year for the 13 describe for us the source of the ATRANS
14 period 2004 to 2008? 14 modeling files you used?
15 A. I believe so. 15 A. Source of the modeling
16 Q. How many stress periods? 16 files would have come from
17 A. There was a stress 17. §.S. Papadopulos.
18 period -- well, I guess -- I think 2004 18 Q. Did you buy it or download
19 to 2008 was really a single stress 19 it?
20 period with multiple steps inside of 20 A. Download it.
21 sit. 21 Q. And with respect the
22 Q. Soas far as you 22 download of the files, do you know which
23 understand -- 23 version it was that you downloaded
24 A. Idon't know. Let me back 24 that's on the web?
37 (Pages 142 to 145)
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1 A. I'm sure we know what 1 case have you ever run Groundwater
2 version; I just -- sitting here I don't 2 Vistas to perform any modeling for MTBE?
3. know off the top of my head. 3 A. No.
4 Q. And with respect to the 4 Q. Prior to your work on this
5 ATRANS analyses that were run in this 5 case have you ever used a BIOSCREEN
6 case, how many did you run personally? 6 model from S. S. Papadopulos to do a
7 A. Well, I mean, I ran some 7 fate and transport analysis for MTBE?
8 analyses while we were developing our 8 A. For MTBE, no, I have not.
9 approach to the case, and then 9 Q. Have:you ever used
10 _ultimately the files themselves were 10 BIOSCREEN prior to your work on this
11 executed by one of my staff members. 11 case for any purpose?
12 Q. With regard to. the ATRANS 12 A. Yes.
13 modeling for each of the service station 13 Q. And what purposes have you
14 — sites for which ATRANS modeling was 14 used BIOSCREEN?
15 performed, were those model runs 15 A. Just in investigating a
16 executed by yourself or someone on your |16 hydrocarbon site to get a handle on fate
17 staff? 17 and transport issues.
18 A. Someone -- I believe, if! 18 Q. With respect to your
19 understand the question correctly, the 19 professional work, have you been
20 final runs were executed by someone on | 20 _ retained as a consultant to testify in
21 ~=my staff. 21 litigation in which you have not been
22 Q. You did some ATRANS 22 deposed but have performed work
23 modeling in an effort to determine what. | 23 analyzing the fate and transport of MTBE
24 approach should be used for this case? 24 in groundwater?
Page 147 Page 149
1 A. Right. 1 A. I don't think I understand
2 Q. And the final executed runs 2 that question.
3 that were performed for the service 3 Q. You testified previously
4 stations for which ATRANS modeling was| 4 there are some instances, two, where you
5 conducted, they were actually run by 5 have been identified as a consultant or
6 which person or persons on your staff? 6 expert and testified in a deposition; am
7 A. Well, Zach Tyczka did a lot 7 Icorrect?
8 of that, those runs. 8 ‘A. Correct, yes.
9 Q. And with respect to the 9 Q. With respect to your
10 MT3D model, prior to your work on this {10 professional work, apart from those two
11 case, have you personally run MT3D to 11 instances, are there other instances
12 model for fate and transport of MTBE? 12 where you have been retained as a
13 A. Not for MTBE, no. 13 consultant to testify about the fate and
14 Q. Have you any experience in 14 transport of MTBE in groundwater but
15 running the MT3D model to model the fate) 15 — weren't deposed or didn't testify at
16 and transport of any contaminants? 16 trial?
17 A. Yes. 17 A. Where I was in -- now, if I
18 Q. What contaminant? 18 understand the question, you are saying
19 A. Chlorinated solvents, 19 that I was retained to ultimately
20 primarily, and some hydrocarbons, also. | 20 _ testify but then did not testify. Is
21 Q. Which hydrocarbons? 21 that the question?
22 A. Benzene, the BTEX-related 22 Q. Correct.
23 compounds. 23 A. Yeah. No, I have not.
24 Q. Prior to your work on this 24 Q. Prior to your work on this
38 (Pages 146 to 149)
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1 case, have you ever been retained in any 1 Q. Have you sought a "no
2 other litigation matter to testify about 2 further action" letter or anything
3 the fate and transport of MTBE in 3 similar and supported that with any fate
4 groundwater? 4 and transport modeling of MTBE in
5 A. No. 5 groundwater?
6 Q. Prior to your work on this 6 A. No, I have not done that.
7 case, have you ever been retained in any 7 Q. With regard to your
8 consultancy to analyze the fate-and 8 professional work, you indicate on
9 transport of MTBE in groundwater? 9 page 2 of your report that you have
10 A. Yes. 10 performed groundwater transport in the
11 Q. In which cases or 11 Upper Glacial Aquifer?
12 incidents? 12 A. Yes.
13 A. Well, there's a number of 13 Q. Where have you performed
14 them. A lot of gasoline station work 14 groundwater contaminant transport
15 involves MTBE fate and transport, so a 15 numerical modeling assessments in the
16 number of clients that we've had that 16 Upper Glacial Aquifer of Long Island?
17 have gasoline tank leaks, MTBE has been | 17 A. That would be the Sag
18 acomponent of them. So in some of 18 Harbor project I referenced earlier.
19 those cases we've used a fate and 19 Q. And the contaminant of
20 transport model to determine the likely 20 concern in Sag Harbor again? I
21 scope of the contamination extent in 21 apologize.
22 groundwater. 22 A. Those were chlorinated
23 Q. And with regard to those 23 VOCs.
24 instances where you've been retained to 24 Q. And the chlorinated VOCs,
Page 151 Page 153
1 do fate and transport modeling, was that 1 _were there dense non-aqueous phase
2 for purposes of undertaking remedial 2 liquids present?
3 design? 3 A. Probably.
4 A. Sometimes. 4 Q. And the CVOCs at that site
5 Q. Was it for purposes of 5 included what parent compounds and what
6 conducting fate and transport modeling 6 daughter compounds?
7 of MTBE to determine whether there would) 7 A. Primarily it was a PCE
8 be impacts to nearby sensitive 8 site, a tetrachloroethylene.
9 receptors? 9 THE COURT REPORTER: I'm
10 A. Sometimes. 10 sorry?
11 Q. And are there other 11 THE WITNESS: Tetrachloro --
12 instances where you've done fate and 12 THE COURT REPORTER: No; the
13 transport modeling of MTBE in 13 first part.
14 groundwater in support of risk-based 14 THE WITNESS: PCE.
15 closure of sites? 15 BY MR. STACK:
16 A. No, generally not for risk- 16 Q. Have you ever performed any
17 based. 17 groundwater transport analysis of MTBE
18 Q. With respect to site 18 in the Upper Glacial Aquifer in Long
19 closure, have you done any fate and 19 Island prior to this case?
20 transport modeling to support site 20 A. I'msorry, I didn't hear
21 closure for service station sites for 21 the beginning of that.
22 your clients? 22 Q. Yes, sir. Have you ever
23 A. "To support site closure," 23 performed any groundwater transport
24 not exactly sure what you mean by that. 24 analysis of MTBE in the Upper Glacial
39 (Pages 150 to 153)
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1 Aquifer in Long Island prior to your 1 Exhibit No. 2, which is your CV?
2 work on this case? 2 A. Idon't believe so. I
3 A. No, I have not. 3 mean, I don't -- I didn't intend to do
4 Q. With respect to your 4 that or it wasn't a separate section of
5 report, it indicates you have supervised 5 this to identify such sites.
6. groundwater transport in the Upper 6 Q. Well, there is'a section
7. Glacial Aquifer in Long Island. And 7 that says "Specific Experience in
8. what sites have you supervised? It says 8 Environmental Contamination" --
9 "He has performed and supervised.” 9 A. Okay.
10 A. No. What T intended to say 10 Q. -- on page 3?
11 there was that sometimes I do modeling | 11 A. Yes, there is.
12  myselfand other times:i-supervise 12 Q. Are any of those projects
13. people who do modeling for our company.|13 service station sites where you have
14 And one of the environments in which I 14 modeled MTBE in groundwater?
15 did a model was in the Upper Glacial 15 A. Well, on -- there's at
16 Aquifer of Long Island, as an example. 16 _ least one here on page 5.
17 Q. And with respect to that 17 Q. Page 4?
18 _ site, that would be the Sag Harbor site? 18 A. Iwas looking at page 5.
19 A. That's correct. 19 Q. Page 5?
20 Q. Have you ever supervised 20 A. Where it says "Ridgewood,
21 Leggette, Brashears & Graham personnel _21 New Jersey."
22 who have been performing groundwater | 22 Q. And in Ridgewood, New
23 contaminant transport numerical modeling | 23 —_ Jersey, is that the notation, third one
24 assessments of MTBE in the Upper Glacial) 24 down, that says "Conducted an assessment
Page 155 Page 157
1 Aquifer of Long Island? 1 of the impact of gasoline additive MTBE
2 A. No, I have not. 2 on public water supply well completed in
3 Q. With respect to your 3. fractured bedrock aquifer"? Is that it?
4 professional work, what sites have you 4 A. That's correct.
5 modeled MTBE in groundwater for your 5 Q. And in that particular case
6 clients? And if you want to refer to 6 that was approximately when when you did
7 your CV and that helps you, go right are 7 the analysis?
8 ahead. 8 A. Well, we did analyses
9 A. What sites? Well, 9 during multiple spills at this location
10 there's -- I can't really -- I don't 10 during the time we were working on it,
11 know if] can give you an exhaustive 11 so I would say it ranged between the
12 ~—_ list of them, but at a number of 12 mid-'90s, probably, to around 2000 or
13 gasoline station discharge sites that -- 13 2001, something in that time frame.
14 where we were working on behalf of the 14 Q. And with respect to the
15 _ station operator or responsible party, 15 modeling that you performed in
16 ~we've and I have conducted analyses to 16 Ridgewood, New Jersey, for MTBE, who was
17 predict or to establish what migration 17 the client for Leggette, Brashears?
18 of MTBE from that site might look like. 18 A. Ridgewood, the Village of
19 Q. Are any of the service 19 Ridgewood, New Jersey.
20 _ station sites where you have conducted 20 Q. And with respect to the
21 modeling concerning migration of MTBE in| 21 site where MTBE was released, was that a
22 groundwater identified in Attachment -- 22 _ service station site?
23 let me make sure I get it right -- 23 A. Yes, it was.
24 Attachment A to your report, 24 Q. And who operated the
40 (Pages 154 to 157)
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1 aquifer primarily or was it some other 1 Q. With respect to the model
2 kind of aquifer? 2 that you used in that case, can you
3 A. It's a glacial aquifer. 3 recall what kind of model you used?
4 Q. And by "glacial" you mean 4 A. We used a two-dimensional
5 unconsolidated materials, primarily? 5 flow model. And I'm trying to remember
6 A. Itis. 6 now whether it was MODFLOW or PLASM of
7 Q.. And with regard to the 7 another -- I can't remember the specific
8 release, how much was released into the 8 . model that we used sitting here.
9 © environment? 9 Q. Prior to your work on this
10 A. I can't remember the exact 10 case have you ever utilized any
11 volume, but it was sort of a 11 numerical models like MT3D to predict
12 catastrophic, fairly subscantial volume 12 the impact of MTBE on public water
13 release. 13 supply wells?
14 Q. And the release volume, was 14 A. No.
15 that something that resulted in 15 Q. With respect to your
16 non-aqueous phase liquids being present | 16 professional work, had you had occasion
17 on the sites? 17 to work for Leggette, Brashears & Graham
18 A. Yes, it was. 18 clients who were service station owners
19 Q. Did you know the precise 19 or operators and had releases and you
20 date of the release? 20 conducted groundwater modeling for their
21 A. I believe that the date was 21 purposes?
22 known within a relatively small time 22 A. Well, we definitely have
23 frame. 23 done groundwater modeling in cases like
24 Q. Did Leggette, Brashears & 24 that. When you said "for their
Page 163 Page 165
1 Graham conduct site investigation? 1 purposes," I'm not exactly sure --
2 A. Yes, we did. 2 Q. For whatever the purpose
3 Q. Did Leggette, Brashears 3 may be.
4 also conduct a site remediation? 4 A. Sure.
5 A. Yes, we did. 5 Q. Ididn't want to sit and
6 Q. As part of your site 6 enumerate and bore you.
7 evaluation, did you assess potential 7 A. Okay.
8 impacts to off-site sensitive receptors? 8 Q. What companies have you
9 A. Not specifically. 9 performed groundwater modeling for MTBE
10 Q. With respect to the work in 10 at service station or fuel storage
11 Wareham, Massachusetts, was there any 11 release sites?
12 Leggette, Brashears & Graham employee | 12 A. You just said MTBE, and I'm
13 engaged in that project who was a 13 not sure if you had said MTBE in the
14 licensed site professional? 14 previous question or not.
15 A. No, there was not. 15 Q. I'm asking now
16 Q. Was there a licensed site 16 specifically --
17 professional working with LBG? 17 A. Oh, now specifically --
18 A. No. This was prior to the 18 Q.  -- trying to narrow the
19 licensed state professional law. 19 universe for you.
20 Q. And with respect to this 20 A. Ijust want to make sure I
21 release, it occurred approximately when? | 21 follow you.
22 A. It was in the 1990s; I 22 Q. Okay.
23 just -- I can't recall the specific 23 A. Yeah; not for MTBE, I don't
24 ~= date. 24 believe so, no.
42 (Pages 162 to 165)
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1 what type of meetings, as best you 1 Q. Prior to your work on this
2 recall? 2 case have you ever published a peer-
3 A. Okay. They were sort of 3 reviewed article in any scientific or
4 status meetings, update meetings, on the 4 technical journal regarding the
5 activities that were being taken by the 5 biodegradation of MTBE in soil or
6 consultants for Northville to 6 groundwater?
7 investigate the extent of the massive 7 A. No.
8. contamination there. 8 Q. Prior to your work in this
9 Q. And did you as part of your 9 case have you ever published a peer-
10 work confer with and work with other LBG/10 reviewed article in any scientific or
11 personnel? 11 technical journal regarding the isotopic
12 A. I reported to a Robert 12 analysis of MTBE to assess its
13 Lamonica at my firm, who was the 13 biodegradation in groundwater?
14 principal contact between my firm and 14 A. No.
15 Suffolk County Water Authority. 15 Q. Are you familiar with
16 Q. And with respect to 16 isotopic analysis to assess
17 Mr. Lamonica, was he officed in the same |17 biodegradation of MTBE?
18 facility as you at that time? 18 A. Not intimately.
19 A. No. He was in Wilton, 19 Q. Have you used it?
20 Connecticut, at the time. 20 A. No.
21 Q. In the course of your 21 Q. Prior to your work in this
22 professional work have you ever had any | 22 case, have you ever published a peer-
23 occasion to undertake a service station - 23 reviewed article in any scientific or
24 — site remediation project where you have 24 technical journal regarding the use of
Page 191 Page 193
1 supervised people using the accelerated 1 risk-based closure at sites where there
2 response program of the New York DEC? | 2 were releases of MTBE?
3 A. No. 3 A. Ineed the first part again
4 Q. Okay. Prior to your work 4 of the question.
5 on this case have you ever published any 5 Q. Prior to your work in this
6 peer-reviewed articles in any scientific 6 case, have you ever published a peer-
7 or technical journals regarding modeling 7 reviewed article in any scientific or
8 of the fate and transport of MTBE using 8 technical journal regarding risk-based
9 ATRANS? 9 closure of sites with releases of
10 A. No. 10 gasoline including MTBE?
11 Q. Have you ever prior to your 11 A. No.
12 work on this case published any peer- 12 Q. With respect to your
13 reviewed articles in a scientific or 13. professional work, have you ever
14 technical journal regarding fate and 14 published any articles in any peer-
15 transport of MTBE using MT3D? 15 reviewed or scientific/technical
16 A. I'm sorry, I -- you'll have 16 journals regarding computation of the
17 to repeat that one. 17 first-order decay rate for MTBE in
18 Q. Prior to your work on this 18 groundwater?
19 case have you ever published a peer- 19 A. No.
20 reviewed article in any scientific or 20 Q. Have you ever calculated a
21 technical journal regarding the fate and 21 first-order decay rate for MTBE at any
22 transport modeling of MTBE using the 22 of the sites that you've worked on?
23. MT3D model? 23 A. No.
24 A. No, I have not. 24 Q. With respect to your
49 (Pages 190 to 193)
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1 groundwater systems other than the 1 professional work, have you had occasion
2 previously referred to publication in 2 at any of the sites where you've worked
3 2005, monitored natural attenuation for 3. at where you've actually measured out
4 MTBE sites through the EPA? 4 the decay rate for MTBE in groundwater
5 A. Yeah, I believe I have read 5 systems?
6 some Wilson -- of Wilson's work. I 6 A. No.
7 don't know that I'd classify it as a 7 Q. Do you know what decay rate
8 review. 8 is specified by the New Jersey DEP
9 Q. When you say you read it, 9 relative to MTBE in groundwater systems?
10 did you read it and apply it in this 10 A. No. I don't think there is
11 case? 11 one.
12 A. No. 12 Q. And with respect to the
13 Q. Did you read and apply any 13 sites you've worked at, have you ever
14 of Dr. Weaver's work in this case? 14 developed a decay rate for submittal to
15 A. I wouldn't say -- I don't 15 the DEP for and on behalf of your
16 think I'd say I applied it, no. 16 clients based on field data?
17 Q. With respect to your 17 A. I'm not sure I understood
18 professional work, have you ever 18 the question. Can you repeat it?
19 reviewed any of the peer-reviewed 19 Q. Have you ever utilized any
20 publications by Dr. Hanadi Rifai 20 generally accepted method, like the
21 relative to biodegradation and decay of 21 transect analysis method, to calculate
22 MTBE in groundwater systems? 22  orcompute a first-order decay rate for
23 A. No. 23 MTBE in groundwater systems and use it
24 Q. With respect to your 24 to support a submittal on behalf of your
Page 199 Page 201
1 professional work, have you ever 1 clients?
2 reviewed any of the publications in 2 A. No.
3. peer-reviewed journals of Dr. Chuck 3 MR. STACK: We have reached
4 Newell relative to biodegradation and 4 12:30. I think it might be an
5 decay of MTBE in groundwater systems? | 5 appropriate time to take a break and
6 A. No, I don't believe so. 6 segue to different subjects after we eat
7 Q. With respect to your 7 lunch.
8 professional work, do you make a 8 THE WITNESS: Okay.
9 distinction between biodegradation and 9 MR. STACK: I believe lunch
10 decay of contaminants in the -- in their 10 ~=may be here.
11 transport in groundwater systems? 11 THE VIDEOGRAPHER: We are
12 A. Sure. 12 now going off the record. This is the
13 Q. And with regard to MTBE, do 13 end of Videotape No. 2. The time is
14 you make a distinction between its 14 =12:27,
15 ability to biodegrade in groundwater 15 (Luncheon recess from
16 systems as contrasted with the 16 12:27 p.m. to 1:27 p.m.)
17. observation of its decay in transport in 17 (Mr. Garvey present in the
18 groundwater systems? 18 deposition room.)
19 A. In other words, do I think 19 (Ms. Cooper left the
20 that its observation of decay and its 20 telephone conference.)
21 biodegradation are two different things? | 21 THE VIDEOGRAPHER: We are
22 Q. Correct. 22 now back on the record. This is the
23 A. Yes, I do. 23 end -- this is the beginning of
24 Q. And with regard to your 24 Videotape No. 3. The time is 1:27.
51 (Pages 198 to 201)
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1 goes into the groundwater system every 1 that occurred in 1989 at 84-02 Parsons
2 two years and it is half thereafter? 2 Boulevard, was it an above-ground spill?
3 A. Right. 3 A. It may have been.
4 Q. And with respect to the 4 Q. With respect to that spill,
5 actual flux rate based on the 5 was it a customer drive-off?
6 groundwater flow and flow velocity, what | 6 A. I don't know.
7 was the flux rate that you calculated? 7 Q. With respect to the release
8 A.. Well, the ATRANS, in order 8 that occurred in 1989, do you have any
9 to generate a value to use for ATRANS, 9 information that's been made available
10 we had to make calculations to assignto | 10 to you that the grade of gasoline that
11 the patch; and then as water passes 11 was the subject of that spill report
12 through the patch, that defines the 12 actually contained any MTBE?
13 flux. 13 A. Ido not.
14 Q. And did you determine for 14 Q. With respect to the spill
15 each of these calculations what the flux 15 that occurred in 1990, do you have any
16 ~=rate was? 16 information to indicate that the spill
17 A. We determined what the 17. which was the subject of the spill
18 patch concentration was. 18 report at 84-02 Parsons Boulevard in
19 Q. But did you actually go 19 1990 contained MTBE?
20 back and figure out what the flux rate 20 A. Well, all we know is that
21 was to determine whether it was 21 typical MTBE expected in gasoline at
22 reflective of actual conditions 22 that time, but we don't have specific
23 observed? 23 _ site information.
24 A. Well, this analysis uses 24 Q. And with respect to the
Page 259 Page 261
1 predetermined mass amounts, so we're not | 1 typical amount, the typical amount in
2 using groundwater data from the site -- 2 1990 is what, according to the sources
3 Q. Okay. 3. you looked at?
4 A. -- to do this analysis. 4 A. Well, we're assigning the
5 Q. And with regard to the next 5 value 2%.
6 site down, s6-002, 1989, do you know in 6 Q. And the 2% is based on the
7 1989 if there was a release of gasoline 7 EPA reports which have no field
8 resulting in any MTBE mass being 8 measurements of gasoline being
9 introduced into the subsurface at the 9 distributed in Queens; correct?
10 _ service station identified as 84-02 10 A. It is based on the EPA
11 Parsons Boulevard? 11 report, that's true.
12 A. I believe this particular 12 Q. With no field measurements
13 site was -- there was a transposition 13 of gasoline?
14 — error in the table, so I'm not sure 14 A. I don't believe there are
15 about the number 30. That's something 15 field measurements to support it.
16 we addressed in our rebuttal report. 16 Q. And with respect to this
17 Q. But my question is -- this 17 particular station, do you know which
18 is 1989 -- do you know what grade of 18 grades in 1990 of gasoline sold at the
19 gasoline was spilled at 84-02 Parsons 19 _ service station located at 84-02 Parsons
20 Boulevard ata service station there 20 Boulevard actually contained MTBE?
21 when the spill report was provided to 21 A. Do I know which grades
22 the New York DEC? 22 actually did contain it?
23 A. No, Ido not. 23 Q. Yes, sir.
24 Q. With respect to the spill 24 A. No, I do not.
66 (Pages 258 to 261)
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1 Q. Do you know which grade was 1 05?
2 spilled in 1990? 2 Q. s6-015. I apologize if]
3 A. No, Ido not. 3. misspoke, Mr. Terry.
4 Q. Did you understand that 4 A. I see two there, yes.
5 certain grades of gasoline distributed 5 Q. And one is in 1990?
6 in New York prior to 1992 did not 6 A. Correct.
7 contain MTBE? 7 Q. And the one in 1990 you
8 A.. Prior. to 1992? 8 have simulations of a 50-, 500-, and a
9 Q. Yes, sir. 9 2,000-gallon release?
10 A. Certainly, yes. 10 A. Ido.
11 Q. And with respect to the 11 Q. And you have MTBE mass
12 distribution product, did you also 12 loading into the ATRANS model ranging
13 understand, based on your experience, 13 from 2.76 up to 110.20 kilograms of
14 that certain refiners had proprietary 14 MTBE?
15 distribution systems and distributed 15 A. Yes.
16 their gasoline through their own system 16 Q. With respect to the
17 prior to 1992? 17 gasoline that was released at 162-35
18 A. I don't know that. 18 North Conduit Avenue in 1990, do you
19 Q. With regard to the service 19 know what grade of gasoline that was?
20 station at 93-05 168th Street, there are 20 A. No, Ido not.
21 spills reported in 1989 and 1991. Do 21 Q. Do you know with respect to
22 you know what grade of gasoline was 22 the gasoline spilled at 162-35 North
23 spilled in 1989? 23 Conduit Avenue, if it contained MTBE
24 A. Ido not know. 24 when it was spilled in 1990?
Page 263 Page 265
1 Q. Do you have any information 1 A. Ido not know that.
2 to indicate whether the gasoline spilled 2 Q. With regard to the mass
3 jn 1989 at 93-05 168th Street had MTBE? | 3 __ being estimated and the volume released,
4 A. I don't know. I don't 4 the 50-gallon release resulting in a
5 have -- sitting here right now I do not 5 mass of 2.76 kilograms in the model for
6 know. 6 162-35 North Conduit Avenue, is that a
7 Q. With respect to the spill 7 hypothetical release for modeling
8 that occurred in 1991 at 93-59 183rd 8 purposes?
9 Street, do you know what grade of 9 A. Which one are we referring
10 gasoline was spilled at that location? 10 tonow?
11 A. No, Ido not. 11 Q.  s6- --
12 Q. With respect to that 12 A. Yes.
13 location, do you know whether every 13 Q. --015--
14 grade of gasoline at that service 14 A. Right.
15 _ station contained MTBE? 15 Q. -- 1990.
16 A. Ido not know that. 16 A. Right.
17 Q. With regard to the service 17 Q. Is the release of 50
18 station further down, I believe s6-05 18 gallons of gasoline resulting in a mass
19 (sic), 162-35 North Conduit, that is a 19 of 2.76 kilograms of MTBE in groundwater
20 1990 spill. And that 1990 spill has 20 in the model, is that a hypothetical
21 three scenarios for the leakage, one of 21 release for purposes of modeling?
22 50 gallons, one of 500, and one of 2,000 22 A. Yes, it is.
23 gallons; am I correct? 23 Q. And with respect to the
24 A. Are you looking at 015 or 24  500-gallon release in 1990 resulting in
67 (Pages 262 to 265)
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1 27.55 kilograms of MTBE, is that also a 1 in this case?
2 hypothetical release? 2 A. Well, in the beginning of
3 A. Yes, it is. 3 proceeding in this analysis we looked at
4 Q. With respect to the release 4 the information that was available
5 that occurred in 1990 of 2,000 gallons 5 generally from sites within the
6 at the station at 162-35 North Conduit 6 capture -- Station 6 capture zone. And
7 ~ Avenue resulting in 110.20 kilograms of 7 what we found was that the kinds of
8 © MTBE in groundwater in the model, is 8 information we would need to estimate
9 that also a hypothetical release? 9 the mass was'not available.
10 A. Yes, it is. 10 Q. And what kinds of
11 Q. Are there any discharges or 11 information would you need to estimate
12 releases which were simulated for the 12 the mass for release of gasoline
13 sources identified in Table 4 which are 13 including MTBE at a service station?
14 based on an actual, not a hypothetical, 14 A. Well, there could be a
15 release? 15 number of different sources. For
16 A. Well, even though the 16 example, a person could witness a
17 volumes involved are not -- are 17 release and quantify it from
18 prospective, for many of these sites we 18 observation. A person could -- if
19 know there was a release and we know 19 you -- if an investigation was done at
20 there was groundwater impact of -- with | 20 _ the right time and to the right extent,
21  MTBE from that release. Sol think they | 21 ‘then environmental data might be able to
22 are more than hypothetical; it's -- the 22 be used to estimate the mass loading
23 question is the mass. 23 from that same event. Those are two
24 Q. With respect to the 24 methods I can think of.
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1 release, the actual volume released, is 1 Q. And with respect to the
2 there any evidence for any of the 2 issue of quantifying release, were there
3. service stations that you have 3. any sites in the group of sites which
4 identified in Table 4 that there was 4 you reviewed for which you had
5 actually a release of the specific 5 information pertaining to a volume
6 volume that you've identified in the 6 _ release into the environment at any
7 given year which you've specified for 7 particular station?
8 each site? 8 A. Yes.
9 A. No. 9 Q. And which station was that?
10 Q. With respect to the mass 10 A. Well, the stations that
11 projected as being present in 11 have fixed numbers as opposed to 50,
12 groundwater for each of the sites 12 500, 2,000, those volumes were typically
13 identified in Table No. 4, is there 13 reported release volumes in the file.
14 site-specific data to confirm that there 14 Q. And you are referring now
15 actually was that mass of MTBE in that 15 to Table 4 and you are referring to the
16 year beneath that location? 16 heading "Gasoline (gal)" where there is
17 A. No, there is not. 17. arun there with a specified number?
18 Q. With regard to the work 18 A. Correct.
19 that you performed in this case, did you 19 Q. And, for example, can you
20 at any point in time attempt to 20 identify for us any -- and I'm not being
21 calculate the specific mass that may 21 flip here, I'm just asking for your
22 have been present beneath any of the 22 help, because there's -- I see a lot of
23 service stations which you were 23 50,500, and 2000. The other numbers
24 reviewing for purposes of your opinions | 24 you have been honest enough to say one
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1 did you produce to counsel to be 1 for Table 4, you have a 1988 spill at
2 produced to the defendants in this case 2 177-90 South Conduit, that's s6-016. Do
3 all of the files with all of the 3 you know what grade of gasoline was
4 different scenarios, including the 4 reportedly spilled at that location in
5 ten-year and two-year degradations? 5 1988?
6 A. We produced all the files 6 A. No, I do not.
7 that we have, so -- but in order to 7 Q. Do you know whether it
8 generate the input for the model, 8 contained MTBE?
9 sometimes you are varying numbers in the | 9 A. No, I do not.
10 © spreadsheet; but all those spreadsheets 10 Q. With respect to the spill
11 were provided. 11 at s6-022 in 1991, do you know what
12 Q. All the spreadsheets were 12 grade of gasoline was reportedly spilled
13 input into ATRANS? 13 at that location in 1991?
14 A. All the spreadsheets that 14 A. Ss6-002?
15 weused were provided, right. 15 Q. §6-022.
16 Q. And those include all the 16 A. 22.
17 ones that have the degradation constants | 17 Q. 161-51 Baisley Boulevard.
18 that you referred to, a ten-year and a 18 A. Okay. Now we're looking at
19 two-year? 19 ©1991?
20 A. No. Well, you would vary 20 Q. Correct. And my question
21 those over -- you know, in different 21 is, with respect to the release that
22 runs you would vary that number. 22 occurred at 161-51 Baisley Boulevard, do
23 Q. And did you produce the 23 you know in 1991 what grade of gasoline
24 output from all of those runs? 24 was spilled?
Page 287 Page 289
1 A. We produced all those 1 A. No, I don't.
2 spreadsheets if that's what you mean. 2 Q. Do you know whether the
3 Q. Did you produce the output 3. gasoline spilled at 161-51 Baisley
4 from all of those runs? 4 Boulevard in 1991 contained MTBE?
5 A. I believe so. But as I 5 A. No, Ido not.
6 _ said, I think we varied -- we varied 6 Q. With respect to the work
7 inputs for various scenarios. And 7 that you did in this case, going back to
8 sometimes we did that in one 8 the text of your report, in Analysis 1,
9 spreadsheet, and we provided that 9 looking at page 5, you looked at the
10 spreadsheet. 10 available water quality data information
11 Q. Iunderstand the inputs. 11 for Station 6, and that data was used,
12 ‘I'm talking about the other end -- 12 as you indicate, to develop a snapshot.
13 A. Yeah. 13. The snapshot was to represent the
14 Q.  -- the outputs. 14 conditions in 2008; am I correct?
15 A. The outputs of whatever run 15 A. Right, 2004 and 2008.
16 we did are attached to that file, that's 16 Q. And the information as it
17 right. 17 was generated for 2008, that was the
18 Q. And as best you understand 18 data that was used as input conditions
19 it, all the outputs have been provided 19 for the transport model?
20 that you have? 20 A. Well, we -- 2004 data from
21 A. Yes, all the files we have 21 the table we examined earlier were used
22 have been provided to you. 22 as input and then a model was run
23 Q. With respect to the files 23 between 2004 and 2008. And then a
24 that you looked at, particularly those 24 couple of additional sites were added in
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1 2008. 1 A. Yes.
2 Q. And the model that was run, 2 Q. With respect to the
3. we take the 2004 data -- 3 depiction on Figure 3, how was the area
4 A. Uh-huh. 4 of contamination in the vicinity of
5 Q.  -- that's set forth in 5 6-002 actually depicted? How was it
6 Table 2 and we run that in MT3D; am I 6 drawn? Was it drawn by hand? Was it
7 correct? 7 generated by the computer?
8 A. That's correct. 8 A. It was primarily drawn by
9 Q. Then you added the data 9 hand.
10 from the additional 2008 sources that 10 Q. Who draw it by hand?
11 you obtained, being s6-030 and s6-031; 11 A. Myself.
12 am! correct? 12 Q. And when you drew it by
13 A. Correct. 13 hand, what data did you have to
14 Q. And with respect to those 14 _ illustrate the concentrations in
15 locations, you modeled the conditions to | 15 proximity to s6-002 as illustrated on
16 represent what the groundwater looked 16  ~=Figure 3?
17 like in 2008; am I correct? 17 A. Only the data that's shown
18 A. Correct. 18 on this map.
19 Q. Now, when you did the 19 Q. With regard to the data
20 MT3Dmodeling -- 20 shown on this map, so we're clear, there
21 A. Yes. 21 is in the vicinity of the triangle
22 Q. -- you generated, first of 22  ~=representing s6-002 an area of red or
23 all, a 2004 groundwater condition; amI- | 23 _ light red showing a concentration of
24 correct? 24 MTBE above 10,000; am I correct?
Page 291 Page 293
1 A. Yes. 1 A. Yes.
2 Q. Looking at Figure I think 2 Q. And in the area around that
3 it's 3 -- yes, Figure 3 -- what program 3 there would appear to be a tan area for
4 was used to contour the groundwater 4 concentrations of MTBE from 1,000 to
5 conditions depicted in Figure 3? 5 10,000 parts per billion; am I correct?
6 A. Well, it was done in 6 A. Correct.
7 ArcGIS, 7 Q. Did you at the time that
8 Q. And in ArcGIS by whom? 8 you drew the plume in the vicinity of
9 A. By myself and by 9 6-002 have field data to confirm the
10 =Mr. Tyczka. 10 presence of MTBE at any location other
11 Q. And the ArcGIS file that 11 than the well with 14,400 parts per
12 you use, it projected the concentrations 12 billion?
13. of MTBE around areas where you have 13 A. Not that was used to draw
14 reported contamination; am I correct? 14 this contour, no.
15 A. Well, we constructed that. 15 Q. With respect to the
16 We drew that manually in ArcGIS. 16 contours that are depicted in and around
17 Q. With respect -- and you've 17 6-002, am I correct that that contour
18 answered my question. Let's take a 18 area representing contamination with
19 source particularly, s6-002, right below 19 MTBE in the aquifer was drawn with one
20 the heading in Figure 3 of Grand Central | 20 data point?
21 Parkway. That particular site, 21 A. It is from one data point,
22 according to your report, had an input 22 correct.
23 value of 1,000 -- pardon me, 14,400 23 Q. Now, with regard to the _
24 parts per billion of MTBE; amI correct? |24 area in the vicinity of Q-3810, which is
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1 alight pink and it is a well which 1 illustrated: $6-020, S6-015, S6-016.
2 appears to be in Table 2 a U.S.GS. 2 For the area that is depicted, there is
3 well; am I correct -- 3 ashaded area that includes all of those
4 A. What's the number on it? 4 three service station proximal sources;
5 Q. 3810, Dave. 5 am I correct? And if you want to look
6 A. Yes, I do see that. 6 at mine again, Dave, go right ahead.
7 Q. .-- and with respect to that 7 A. That's correct.
8. well, it has a concentration in 2004 of 8 Q. And with regard to those
9. 0.2 parts per billion; am I correct? 9 data points, that area was drafted and
10 A. That's what it says, yes. 10 hand-contoured based on the individual
11 Q. I picked it because it is 11 and single data points at each of the
12 the last one in that chart -- 12 _ service stations?
13 A. Okay. 13 A. Correct.
14 Q. --in Table 2, itisa 14 Q. Did you look at any
15 little easier to find. 15 monitoring well data other than the
16 With regard to the area in 16 _ individual monitoring wells identified
17 pink around Q-3810, that U.S.G.S. well, 17 in Table 2 and the concentrations for
18 that is an area that was drawn by hand 18 those wells to determine whether there
19 or was something that was projected by 19 was any contamination lying, for
20 the computer? 20 example, between S6-015 and S6-020 at
21 A. Ican't really make it out 21 the concentrations indicated in Figure
22 on this copy. 22 3?
23 Q. CanI loan you mine -- 23 A. No, we did not.
24 A. Sure. 24 Q. With regard to the Figure 3
Page 295 Page 297
1 Q. -- for what it's worth? It 1 depiction, the areas that are depicted,
2 may give you a little better relief. 2 they are areas of equal concentration in
3 A. Yes, that's correct. 3. Layer | over the entire depth of
4 Q. Okay. So with respect to 4 Layer 1?
5 the areas of contamination depicted on 5 A. Correct.
6 Figure 3, were any of them generated by 6 Q. So the mass being
7 acomputer program? 7 calculated is the concentration
8 A. No, they were not. 8 indicated on Layer 3 for whatever the
9 Q. Were all of them delineated 9 depth interval is for water in Layer 1?
10 —_using hand contouring? 10 A. I think I was with you to
11 A. Yes, they were. 11 the last bit there.
12 Q. And with respect to the 12 Q. Okay. If, for example --
13 area of concentration around a 13 let's take easy one. Let's take Q-3810,
14 particular well, did you have any other 14 which is a stand-alone, single point.
15 data in proximity to the single data 15 If I want to figure out what mass of
16 point to show the presence of 16 MTBEis in the vicinity of that U.S.G.S.
17 contamination in the groundwater in 17. well, I look at the concentration as
18 Layer No. 1? 18 illustrated on Figure 3 and then I would
19 A. No. 19 — distribute that concentration equally in
20 Q. With regard to areas where 20 all of the cells in the model in that
21 ‘there are multiple sites, looking at the 21 area for the entire thickness of
22 bottom of Figure 3 towards the southern 22 Layer 1; am I correct?
23 extreme as you go towards JFK Airport, | 23 A. That's true.
24 there are three service stations 24 Q. And in order to calculate
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1 _ release, that release, according to the 1 A. We didn't use data from the
2 information you had, occurred when? 2 kind of information you are talking
3 A. Well, there were two at 3 about to construct these contours.
4 that site. One was in 1989 and one was 4 Q. The data that you used was
5 1990. 5 asingle data point from s6-002; am I
6 Q. And with regard to those 6 correct?
7 releases, do you know whether they ever 7 A. Correct.
8 extended off site? 8 Q. And that single data point
9 A. Idon't know. 9 was then hand-contoured based on your
10 Q. With respect to the work 10 professional judgment?
11. that you performed in this case for the 11 A. Yes.
12 _ service station marked s6-002, did you 12 Q. And with respect to each of
13 prior to contouring the area of 13 _ the sites, service station sites, being
14 contamination illustrated on Figure 14 the designation S6 and then a three-
15 No.3 look at the data for that site and 15 letter -- pardon me, three-number
16 determine if there actually was MTBE off |16 suffix, for each of those sites did you
17 _ site of the service station? 17 use one data point to contour the area
18 A. Well, we did look in 18 of contamination in the aquifer?
19 general for that kind of information. 19 A. These are based on a single
20 And most sites we looked at there 20 point.
21 ~~ weren't sufficient data to really 21 Q. And the single point was
22 demonstrate that. 22 based on the maximum concentration?
23 Q. With respect to the site 23 A. That's correct.
24 6-002, did you specifically look and 24 Q. Did you at any point in
Page 311 Page 313
1 see if there was off-site data to 1 time look at the data for any of the
2 indicate that there was contamination in 2 service stations and use any generally
3 the form of MTBE in groundwater off the | 3 accepted methods to average the
4 site? 4 contamination across the site?
5 A. Well, most of these -- I 5 A. No, we did not.
6 can't specifically say about s6-002. 6 Q. In your professional work
7 Most of these sites did not have 7 have you done any analyses in which you
8 considerable off-site information. 8 employed generally accepted methods for
9 Q. When you contoured these 9 spatial averaging at sites?
10 areas of contamination, did you have the | 10 A. For groundwater data?
11 site remediation files available to you 11 Q. Correct.
12 that were produced by the defendants in | 12 A. No.
13 this case so you could look at the site 13 Q. With respect to the work
14 data and contour the areas? 14 that you have performed professionally,
15 A. I don't know if we -- we 15 have you ever used any kriging
16 had what was provided to us. I don't 16 algorithms?
17 have that in front of me now. 17 A. Ihave.
18 Q. At the time that you 18 Q. And did you use any kriging
19 contoured the areas depicted on Figure 19 algorithms in this case to average the
20 3, did you specifically look at the file 20 concentration of observed conditions in
21 materials you had and the map that you 21 groundwater at any of these sites?
22 were drawing on to develop the contoured | 22 A. No, we did not.
23 areas that you depicted with hand 23 Q. With respect to your work,
24 contouring on Figure 3? 24 have you ever used polynomial equations
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